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 1    Brian L. Johnsrud (SBN 184474)
      Patrick Sherman (SBN 229959)
 2    Daniel E. Lassen (SBN 271446)
      DUANE MORRIS LLP
 3    260 Homer Avenue, Suite 202
      Palo Alto, CA 94301-2777
 4    Telephone: 650 847 4150
      Fax: 650 847 4151
 5    E-mail:bjohnsrud@duanemorris.com
              psherman@duanemorris.com
 6            delassen@duanemorris.com

 7    Attorneys for Defendant
      JUUL LABS, INC.
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 9
                            IN THE UNITED STATES DISTRICT COURT
10
                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
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12
     SIDDHARTH BREJA, an individual,                Case No.: 3:19-CV-07148-WHO
13
                          Plaintiff,                ORDER OF DISMISSAL WITH
14                                                  PREJUDICE
           v.
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     JUUL LABS, INC., a Delaware Corporation,
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                          Defendant.
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     [PROPOSED] ORDER OF DISMISSAL WITH PREJUDICE
                                                                CASE NO.: 3:19-CV-07148-WHO
          Case 3:19-cv-07148-WHO Document 35 Filed 08/09/23 Page 2 of 2




 1   TO ALL PARTIES AND COUNSEL:

 2          This matter having come before the Court on Plaintiff Siddharth Breja (“Mr. Breja”) and

 3   Defendant Juul Labs, Inc.’s (“JLI”) (collectively, the “Parties”) Joint Status Report and the Request

 4   for Dismissal With Prejudice (ECF Nos. 33 and 34), the Court hereby GRANTS the Parties’ request

 5   to dismiss the case with prejudice as follows:

 6          1.      The Parties informed the Court that the Arbitrator has entered a Final Award holding

 7   that each of the claims advanced by Mr. Breja fail and that JLI was entitled to recover certain costs

 8   from Mr. Breja. The Parties further informed the Court that on July 11, 2023, Mr. Breja requested

 9   reconsideration of the Final Award specifically related to the award of costs and, on July 17, 2023,

10   the Arbitrator denied Mr. Breja’s request for reconsideration.

11          2.      The Parties requested in their Joint Status Report that the case be dismissed with

12   prejudice once Mr. Breja had satisfied his obligations under the Final Award and JLI had informed

13   the Court of such satisfaction.

14          3.      On August 8, 2023, JLI informed the Court that Mr. Beja has satisfied such

15   obligations.

16          4.      Pursuant to the Parties’ agreement, this action is hereby dismissed with prejudice.

17   IT IS SO ORDERED.

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19            August 9
      Dated: _______________, 2023
                                                      United States District Judge
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     [PROPOSED] ORDER OF DISMISSAL WITH PREJUDICE
                                                                              CASE NO.: 3:19-CV-07148-WHO
